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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

    CHRISTIAN GARCIA-ALVAREZ, on                     §
    behalf of himself and those similarly            §
    situated,                                        §   Civil Action No. 4:21-CV-00124
                                                     §   Judge Mazzant
           Plaintiffs,                               §
                                                     §
    v.                                               §
                                                     §
    FOGO DE CHAO CHURRASCARIA                        §
    (PITTSBURGH) LLC, a foreign limited              §
    liability company, et al.,                       §
                                                     §
           Defendants.                               §


                                                 ORDER

           Pending before the Court is the Plaintiffs' Unopposed Motion for 11-Day Extension to

    Reply to Defendants' Response to Plaintiffs' Motion for Ruling that Purported Arbitration

    Agreements Are Invalid and Unenforceable and to Authorize Mailing of Corrective Notice and

    Posting Of Order (Dkt. #58). Having considered the motion and the relevant pleadings, the

    Court finds that the motion should be granted.

.          It is therefore ORDERED that the Motion (Dkt. #58) is hereby GRANTED. Plaintiffs'

    shall have 11 days from the date when the Court issues this order to submit their reply to the

    pending motion.

           IT IS SO ORDERED.

            SIGNED this 30th day of September, 2021.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
